Case. 1+21-cr-00077-SWS- Document220 -. Filed 06/12/23. Page, 1 of1
TRANSCRIPT ORDER FORM - DIRECTIONS ON THE REVERSE DE

PART I - To be completed by appellant within fourteen days of filing the notice of appeal.

Short Title: United States v. Salas District Court Number: 21-CR-77-S

District: Wyoming Circuit Court Number:_23-8027

Name of Attorney/Pro Se Party:_Christyne M. Martens Email Address: christyne.martens@usdoj.gov
Name of Law Firm/Office:_U.S. Attorney's Office Telephone: 307-261-5434

Address : P.O. Box 22211, Casper, WY 82602
Attorney for: Appellee, United States of America

Name of Court Reporter: Megan E. Strawn

Name of Court Reporter (if ordering from more than one):

PART II - Complete SECTION A (if not ordering a transcript) or SECTION B (if ordering transcript(s)).

SECTION A - 1 HAVE NOT ORDERED A TRANSCRIPT BECAUSE
OI Atranscript is not necessary for this appeal;
C1 The necessary transcript is already on file in District Court; or
C1] The necessary transcript was ordered previously in appeal
number

SECTION B - 1 HEREBY ORDER THE FOLLOWING TRANSCRIPT(S):
(Specify the date and proceeding in the space below)

Voir dire: Opening Statements:

Trial proceedings: Closing Arguments:

Jury Instructions: Other Proceedings: March 18, 2022 Motion Hearing
Post-Trial Hearings: Other Proceedings:

(Attach additional pages if necessary)

C1] I will pay the cost of the transcript. My signature on this form is my agreement to pay for the transcript
ordered on this form.

LO This case is proceeding under the Criminal Justice Act.
IF THIS APPEAL IS PROCEEDING UNDER THE CJA PLEASE NOTE YOU MUST ALSO TAKE ALL STEPS
REQUIRED IN EVOUCHER IN ORDER TO COMPLETE PAYMENT ARRANGEMENTS.

NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the district court
allowing payment for the transcript at government expense must be obtained. See 28 U.S.C. §753(f).

CERTIFICATE OF COMPLIANCE
I certify that I have read the instructions on the reverse of this form and that copies of this transcript order form have been served
on the court reporter (if transcript ordered), the Clerk of U.S. District Court, all counsel of record or pro se parties, and the
Clerk of the U.S. Court of Appeals for the Tenth Circuit. | further certify that satisfactory arrangements for payment for any

transcript ordered have been made wi
Signature of Attorney/Ordering Party:. 2 Ubon Date: 6/12/2023
PART III - To be completed by th: ial arrangements have been made.

Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals and one copy with the Clerk of the U.S.
District Court.

Date arrangements for payment completed: o/ [2 [7 5
Estimated completion date: @/|2 /23
Estimated number of pages: q

I certify that I have read the instructions on the reyerse side and that adequate arrangements for payment have been made.
UV
Signature of Court coporor. Mtge» AAC? vo /[2 /4 5

U 7°

A-8 Transcript Order Form 3/2017
